   Case No. 1:18-mc-00030-PAB Document 7-6 filed 04/10/18 USDC Colorado pg 1 of 1




                                             Department of the Treasury - Internal Revenue Service                Request Number
 Form  4564
 (Rev. September 2006)                     Information Document Request                                            0003
 To: (Name of Taxpayer and Company Division or Branch)                                    Subject
                                                                                          Additional Items Requested
  CSW Consulting
                                                                                          SAIN number      'Submitted to:
                                                                                                             CSW Consulting
  Please return Part 2 with listed documents to requester identified below                 Dates of Previous Requests (mmddyyyy)


  Description of documents requested
  Tax Period(s) :   201312; 201412; 201512; 201612


  For years 2013, 2014, and 2015 please provide a copy of the METRC Transfers Report

  Please provide copies of the following items for use in the examination of your 2016 federal
  return:

      1. Reconciliation of all Shareholder capital accounts and basis
      2. Profit & Loss Statement and Balance Sheet
      3. General Ledger and subsidiary ledgers, including but not limited to, accounts receivable,
          accounts payable, etc.
      4. Sales Journal , Cash Receipts and Disbursements Journals, i.e. Check Register.
      5. Point-of-sale system/register Z-journal or point-of-sales annual sales report and monthly sales
          reports
      6. METRC annual sales report & transfers report
      7. Computation of Cost of Goods Sold, including Cost of Goods Manufactured, Direct Materials,
          Direct Labor and Indirect Production Cost allocations
      8. Bank reconciliations with monthly bank statements available during appointment
      9. Detailed documents to support all loan receivables and payables, including but not limited to,
          loan agreements, payment schedules, etc.
      10. Accountant's workpapers regarding:
              i. Year-end worksheet reconciling books to return , including working trial balance.
              ii. Year-end Adjusting Journal Entries and Closing Entries
              iii. Year-end Bank Reconciliation's
      11. Audited financials , if any.
      12. Employment Tax Returns etc., form 940's, 941, W-2's and W-3's and other information returns
          such as form 1099's

 Please note that several items from previous IDRs are still outstanding such as a complete General
 Ledger, METRC sales records, COGS Calculations under Tres. Reg. 1.471-11, etc. Please provide
 these items as soon as possible.




---mfermation due by ~P~l~tl~Z{~2P~l~B_ _ _ __            At nex-t-appointmem-@
                                                               --            ---            Mailin   D
                    Name and Title of Requester                                Employee ID number        Date (mmddyyyy)

             \
                    David Hewell, Revenue Agent                              -~08-98924                  12/19/2017
  From :

             I
                    Office Location :   12600 W Colfax Ave Sui!e c300                                    Phone: 720-956-4675
                                        MS 4161 DH                                                       Fax: 888-765-1496
                                        Lakewood , CO 80215
Catalog Number 23145K      www.i rs .gov          Part 2 - To be Returned by Taxpayer with Reply                  Form 4564 (Rev. 9-2006)




                                                            EXHIBIT 5
